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                                  UNITED STATES DISTRICT COURT
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                                 CENTRAL DISTRICT OF CALIFORNIA
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 10    DENNIS VIGIL,                                    Case No. 2:21-CV-2772-CJC (LAL)

 11                                   Petitioner,       JUDGMENT
 12                         v.

 13    RAYMOND MADDEN, Warden,

 14                                      Respondent.

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 16
 17           Pursuant to the Order Accepting Report and Recommendation of United States
 18    Magistrate Judge,
 19           IT IS ADJUDGED that the Petition is denied and this action is dismissed with prejudice.
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 21
       DATED: November 30, 2021                     _________________________________________
 22                                                 HONORABLE CORMAC J. CARNEY
 23                                                 UNITED STATES DISTRICT JUDGE

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